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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

JANE DOE 1, JANE DOE 2, JANE DOE 3,               )
JANE DOE 4, and JANE DOE 5,                       )
                                                  )
        Plaintiffs,                               )      Civil Action No. 17-cv-1597 (CKK)
                                                  )
                        v.                        )
                                                  )
DONALD J. TRUMP, in his official capacity as )
President of the United States; JAMES N.          )
MATTIS, in his official capacity as Secretary of )
Defense; JOSEPH F. DUNFORD, JR., in his           )
official capacity as Chairman of the Joint Chiefs )
of Staff; the UNITED STATES DEPARTMENT )
OF THE ARMY; RYAN D. MCCARTHY, in                 )
his official capacity as Secretary of the Army;   )
the UNITED STATES DEPARTMENT OF                   )
THE AIR FORCE; HEATHER A. WILSON, in )
her official capacity as Secretary of the Air     )
Force; the UNITED STATES COAST GUARD; )
ELAINE C. DUKE, in her official capacity as       )
Secretary of Homeland Security; and the           )
UNITED STATES OF AMERICA,                         )
                                                  )
        Defendants.
                                                  )

                   DECLARATION OF ALAN E. SCHOENFELD
            IN SUPPORT OF MOTION FOR ADMISSION PRO HAC VICE

      I, Alan E. Schoenfeld, hereby declare:

      1.     My name, office address, and telephone number are as follows:

             Alan E. Schoenfeld
             Wilmer Cutler Pickering Hale & Dorr LLP
             7 World Trade Center
             250 Greenwich Street
             New York, NY 10007
             Telephone: 212-937-7294

      2.     I am admitted to the following bars and courts:

             New York (Bar No. 4500898)
             New York, Appellate Division, First Department (4500898)
             U.S. District Court for the Southern District of New York (AS0229)
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